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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO


CLEVELAND BROWNS FOOTBALL
COMPANY LLC,                                                 Case No. 1:24-CV-01857-DAR

                        Plaintiff,                           Judge David A. Ruiz

v.                                                           MOTION TO SCHEDULE CASE
                                                             MANAGEMENT CONFERENCE
THE CITY OF CLEVELAND,                                       PURSUANT TO F.R.C.P. 16 AND
                                                             L.R. 16.1
                        Defendant,

THE STATE OF OHIO,

                        Intervenor-Defendant.


       Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16.1, plaintiff respectfully

requests that the Court schedule the initial Case Management Conference at the Court’s earliest

convenience.

       This action has been pending for nearly 120 days since all defendants first appeared.

Plaintiff filed this action on October 24, 2024. Doc. 1. Defendant City of Cleveland entered a

notice of appearance on November 15, 2024. Doc. 11. The Ohio Attorney General moved to

intervene on October 31, 2024 and was joined as a defendant by order dated November 26, 2024.

Docs. 8, 13, 14.

       Local Rule 16.1(b)(2) provides that the Case Management Conference shall be held “not

later than ninety (90) days from the date counsel for the defendant(s) has entered notice of

appearance, regardless of whether a responsive pleading has been filed by that date.” In addition,

Federal Rule of Civil Procedure 16(b)(2) provides that the Court must issue the initial scheduling

order “as soon as practicable, but unless the judge finds good cause for delay, . . . within the earlier
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of 90 days after any defendant has been served with the complaint or 60 days after any defendant

has appeared.”

        Plaintiff accordingly requests that the Court set the Case Management Conference at its

earliest convenience, so that the “order containing the Case Management Plan governing the

litigation” may be promptly issued and litigation proceed on the ordered schedule. L.R. 16.3(b)(4).

Significant further delay to the setting of the case schedule risks leaving plaintiff without the ability

to obtain effective judicial relief. Plaintiff brought this lawsuit to enforce and clarify its right to

occupy a new stadium after its current stadium lease expires in February 2029, and construction

must begin on a new stadium by early 2026 to be ready by 2029. Doc. 30-1 ¶¶ 1-7, 81.

        Furthermore, the Court should promptly schedule the Case Management Conference

because defendants have invoked the absence of an ordered date for the Case Management

Conference to reject as “premature” plaintiff’s request for a Rule 26(f) conference. That is

improper, however, because Rule 26(f)(1) provides that “the parties must confer as soon as

practicable—and in any event at least 21 days before a scheduling conference is to be held or a

scheduling order is due under Rule 16(b).” (emphasis added). Because defendants are unwilling

to meet their obligation to confer as soon as practicable, an order setting a date for the Case

Management Conference is necessary to cause defendants to confer under Rule 26(f) as the rule

requires.

        Plaintiff notes that defendants’ motions to dismiss the first amended complaint, as well as

its motion for leave to file a second amended complaint, are pending. See Docs. 24, 25, 30. The

pendency of those motions, however, is not a basis to delay the Case Management Conference

beyond the deadline set by Local Rule 16.1. See L.R. 16.1(b)(2).




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                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on March 24, 2025,

and counsel of record will receive a notice of filing through the Court’s electronic filing system in

accordance with Fed. R. Civ. P. 5(b)(2)(E) and this Court’s Local Rules.

                                                              /s/ Anthony C. White
                                                              Anthony C. White (0062146)

                                                              One of the Attorneys for Plaintiff
